
By the Court.
'Section 8623-14, General Code, in paragraph (3) relating to an amendment which substantially changes the purpose of a corporation, specifically grants to dissenting shareholders the relief provided in Section 8623-72, General Code.
Section 8623-72, General Code, provides that, when the articles of the corporation have been amended, a dissenting shareholder shall be paid the fair cash value of his shares as of the day before the vote was *543taken authorizing such action, if such shareholder within twenty days after the day on which the vote was taken, objects in writing and demands such payment.
Instead of invoking the statutory relief afforded a dissenting shareholder within twenty days, relator sought the extraordinary writ of mandamus more than sixteen months after the shareholders’ meeting.
Section 12287,. General Code, provides that the writ of mandamus must not issue where there is a plain and adequate remedy in the ordinary course of law.
Relator had such plain and adequate remedy and therefore a writ of mandamus will not be issued.

Writ denied.

Weygandt, C. J., Turner, Williams, Matthias, Hart and Zimmerman, JJ., concur.
Bell, J., not participating.
